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SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                          NOLLE PROSEQUI

                          -v.-                                    19 Cr . 545 (CM)

MICHAEL CARROLL and ,
MICHAEL PAPPAGALLO ,

                                  Defendants .

                                                          -   X




                     1.           The filing of this nolle prosegui will dispose of

this case with respect to MICHAEL CARROLL and MICHAEL

PAPPAGALLO , the defendants .

                     2.           On July 20 , 2019 , sealed Indictment 19 Cr . 545

(CM) was returned , charging MICHAEL CARROLL and MICHAEL

PAPPAGALLO , the defendants , with ( 1 ) conspiracy to commit

securities fraud , in violation of Title 18 , United States Code ,

Section 371 ;                 (2) securities fraud , in vio lation of Title 15 ,

Sections 78j (b) and 78ff ; Title 17 , Code of Federal Regulations ,

Sections 240.l0b-5 and 244 . l00(b) ; and Title 18 , United States

Code , Section 2 ;                     (3)       false statements in filings with the

Securities and Exchange Commission ("SEC ")                               ( in two counts) , in

violation of Title 15 , Sections 78m(a) and 78ff ; Title 17 , Code

of Federal Regulations , Sections 240 . 12b- 20, 240 . 13a - 13 , and

244 . l00(b) ; and Title 18 , United States Code , Section 2 ;                               (4) and

false certifications of disclosure filed with the SEC (in two
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 counts) , in violation of Title 15 , Sections 78m(a) and 78ff ;

Title 17 , Code of Federal Regulations , Section 240 . 13a - 14 ; and

Title 18 , United States Code , Section 2 .

              3.    After additional investigation and review , the

Government has determined that it cannot prove , beyond a

 reasonable doubt , that conduct that resulted in accounting

adjustments that form a significant portion of the allegedly

misstated metric charged in the Indictment was committed as part

of the cha~ged scheme to defraud .

              4.    In light of the foregoing , I recommend that an

orde r of nolle prosequi be filed as to MICHAEL CARROLL a~d

MICHAEL PAPPAGALLO , the defendants , with respect to Indictment

19 Cr . 5 4 5 (CM) .



                                         /s/
                                     MARTINS. BELL
                                     JORDAN L . ESTES
                                     REBECCA MERMELSTEIN
                                     DREW SKINNER
                                     DAN=EL TRACER
                                     Ass~stant United States Attorneys


Dated :      New York , New York
             March    , 2021




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               Upon the foregoing recommendation , I hereby direct ,

 with leave of the Court , that an order of nolle prosequi be

 filed as to defendants MICHAEL CA~ROLL and MICHAEL PAPPAGALLO

 with respect to Indictment 15 Cr. 545 (CM) .




                                                 tes Attorney
                                       Southern Dis tr ict of New York


 Dated :       New York , New York
               March 31 , 2021




SO ORDERED :
                                      HON . COLLEEN MCMAHON
                                      Chief United States District Judge
                                      Southern District of New York


Dated :        N/ew4f;;J/
                    Yor\< New York
                           , 2021
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